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Of Attorneys for Plaintiffs


               UNITED STATES DISTRICT COURT

                      DISTRICT OF OREGON

                       PORTLAND DIVISION


CARLTON CHASE,                     Case No. 3:18-cv-00568-AC
ERIC MACCARTNEY and
LUANNE MUELLER,                    CLASS ACTION
individually and on                ALLEGATION
behalf of all others,              AMENDED COMPLAINT

                   Plaintiffs,     Unlawful Collection Practices
                                   Unlawful Trade Practices
      v.
                                   Demand for Jury Trial
GORDON, AYLWORTH &
TAMI, P.C. and VISION
INVESTIGATIVE SERVICE,
LLC,

                   Defendants.




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                                       1.

                            INTRODUCTION

        Laws protecting people from unfair debt collection date back to

America’s Founding Fathers. The Constitution instructed Congress to

enact uniform laws on debt forgiveness. Almost 75 years after the

Constitution was ratified, Congress passed the 13th Amendment,

prohibiting all forms of indentured servitude. Another 100 years later,

the United States Supreme Court began declaring debtors’ prisons

unconstitutional. In 1977, Congress passed the Fair Debt Collection

Practices Act (FDCPA) to “eliminate abusive debt collection practices by

debt collectors, to ensure that those debt collectors who refrain from

using    abusive   debt   collection   practices   are     not   competitively

disadvantaged, and to promote consistent State action to protect

consumers against debt collection abuses.” 15 U.S.C. § 1692(e). Oregon

law specifically prohibits collectors from charging excessive service fees.

        But not all collectors choose to follow the law.

                                       2.

        Oregon debt collection law firm Gordon, Aylworth & Tami, P.C.

(GAT) is the largest debt collection law firm in Oregon and files

thousands of lawsuits a year against Oregon consumers. GAT’s largest

client is Midland Funding, LLC, a national debt collector that buys

portfolios of defaulted consumer debts from national banks and other



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creditors for pennies on the dollar. Midland Funding, LLC (collectively

“Midland”) and its alter ego and sister entity Midland Credit

Management, Inc. are both owned by Encore Capital Group, Inc. When

it is unsuccessful in collecting its debts on its own, Midland employs debt

collection law firms like GAT as agents-in-fact to collect the debts by

suing consumers, obtaining judgments against them, and then

garnishing wages and bank accounts. The vast majority of judgments

GAT obtains against consumers are default judgments because many

consumers do not have the time, resources, or legal knowledge required

to mount a defense.

                                     3.

      When GAT files a debt collection lawsuit against an Oregon

consumer and the consumer does not answer or appear, GAT obtains a

default order and judgment against the consumer. As part of the default

judgment, GAT can request an award costs and disbursements incurred

by its client from the court, only as allowed by Oregon law. Costs

incurred by a prevailing party that are actually incurred and paid to a

third party to execute service of the summons and complaint in the debt

collection lawsuit are allowed as recoverable costs and disbursements,

but the manner of service and the costs allowed are specifically

regulated by Oregon law.




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                                     4.

      Oregon Rule of Civil Procedure (ORCP) 68 A(2) provides that

“’[c]osts and disbursements’ are reasonable and necessary expenses

incurred in the prosecution or defense of an action, other than for legal

services…” ORCP 68 B provides that “[i]n any action, costs and

disbursements shall be allowed to the prevailing party unless these

rules or any other rule or statute direct that in the particular case costs

and disbursements shall not be allowed to the prevailing party or shall

be allowed to some other party, or unless the court otherwise directs.”

                                     5.

      ORS 20.115 provides that service fees paid to a party other than

the sheriff are allowable as costs and disbursements, but the amount

requested cannot exceed what the sheriff charges at the time of the

service, as set forth in the version of ORS 21.300 in effect at the time of

service. Service costs paid to a person besides a sheriff may exceed what

the sheriff charges only in amounts for: the reasonable cost of service

outside this state, the reasonable rate for mileage, the reasonable cost

of locating and serving a party when routine service methods are

unsuccessful, or the reasonable cost of expedited service if expedited

service is necessary.




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                                     6.

      The amount of sheriff service costs allowed under ORS 21.300

prior to January 1, 2018 was $36.

                                     7.

      ORCP 7 E provides that service of the summons and complaint

cannot be executed by the party itself or its attorney, unless it is service

by mail. Most lawyers and law firms use a private arms-length

professional process server, but not GAT. Instead GAT decided to set up

its own dummy service company, Vision Investigative Services, LLC

(Vision), a wholly owned and operated subsidiary of GAT.

                                     8.

      Under the Oregon Rules of Professional Conduct (ORPC) it is

professional misconduct for a lawyer to “engage in conduct involving

dishonesty, fraud, deceit or misrepresentation that reflects adversely on

the lawyer’s fitness to practice law” or to “engage in conduct that is

prejudicial to the administration of justice.” ORPC 8.4(a)(3)-(4). A

lawyer is also prohibited from counseling “a client to engage, or assist a

client, in conduct that the lawyer knows is illegal or fraudulent…” and

a lawyer may not “enter into an agreement for, charge or collect an

illegal or clearly excessive fee or a clearly excessive amount for

expenses.” ORPC 1.2(c), 1.5(a). In representing a client, a lawyer cannot

knowingly “make a false statement of material fact or law to a third



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person” or fail to disclose a material fact when disclosure is necessary to

avoid assisting an illegal or fraudulent act by a client.” ORPC 4.1.

                                      9.

      Oregon law and the ORPC do not contemplate or allow for a law

firm to set up a dummy service company that is a wholly owned and

operated entity of the law firm so that the law firm (or its client) can

profit from unreasonable, prohibited, and unlawfully inflated service

costs that are not actually incurred or paid to a third party. The FDCPA

and the Oregon Unlawful Trade Practices Act (UTPA) provide a private

cause of action for these unfair practices and the many Oregon

consumers who have been concretely harmed by these practices deserve

relief from this Court.

                                      10.

      On behalf of its client Midland, GAT filed lawsuits against

plaintiffs (and the putative class) alleging an amount owed for alleged

defaulted debts purchased by Midland. In the complaints that it served

on the plaintiffs, in addition to the debt and post-judgment interest, it

stated that its client “is also entitled to actual costs and disbursements.”

See Exhibit 1. Service of the summonses and complaints on plaintiffs

was accomplished via first class and certified mail with return receipt

requested. See Exhibit 1. The plaintiffs all defaulted and then GAT,

without knowledge of the plaintiffs, represented to the Court that its



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client was “entitled to the recovery of reasonable and necessary costs

and disbursements as authorized by ORCP 68A (2), including expedited

service fees pursuant to ORS 20.115(2)(d). The costs, as detailed below,

are billed directly to the client and are not overhead expenses. Expedited

Service was necessary and the service fees set forth below reflect the

actual costs of the service.” See Exhibit 1. In each case, GAT requested

$45 for the alleged actual and necessary costs of this “expedited” service.

But GAT failed to inform the Court that it owned and operated the

dummy service entity that performed the service, and falsely stated that

the $45 was the actual cost of service incurred by GAT’s client, that the

service costs were not “overhead” of GAT, and that additional cost for

expedited service was both reasonable and necessary. Plaintiffs

subsequently paid the inflated $45 service costs to GAT.

                                     11.

      Unknown to plaintiffs at the time, Oregon law prohibited GAT

from collecting service fees not actually incurred by its client and paid

to a third party, and Oregon law prohibited GAT from collecting inflated

costs of service for routine mailing that were not permissible because

they were not both reasonable and necessary. GAT’s $45 fees were not

reasonable when the actual cost of service by mail was approximately

$7. Plaintiffs, through counsel, discovered that GAT funneled these

excessive and unlawful service fees through a dummy service company



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that was controlled, owned, and operated by GAT. By charging and

collecting excessive service fees and funneling the profits through a

dummy service company, GAT puts local debt collectors that do not

overcharge consumers at a competitive disadvantage, and GAT extracts

illegal profits from Oregon consumers who can least afford it. Although

the unlawful service fees may not have caused substantial damage to

each plaintiff individually, the aggregate damages suffered by similarly

situated consumers are indeed substantial.

                                    12.

      To paraphrase Judge Posner, “only a lunatic or a fanatic” goes to

court on her own over a relatively small loss. So, plaintiffs file this

lawsuit as a class action, on behalf of themselves, and thousands of other

consumers ripped off by GAT’s unlawful collection and trade practices.

                                    13.

      Plaintiffs file this case in hopes of stopping GAT from continuing

to demand and collect excessive service fees in its lawsuits and to

persuade GAT to dismantle its unlawful and unethical dummy service

company. They also hope to force defendants to return the thousands of

dollars in excessive service fees that they have unlawfully collected from

unwitting Oregon consumers.




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                                      14.

               JURISDICTION AND THE PARTIES

      This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1367

because the FDCPA, 15 U.S.C. § 1692, et seq., is a federal consumer

protection law, and because plaintiffs’ claim under Oregon’s UTPA is so

related to the FDCPA claim that they form part of the same case and

controversy.

                                      15.

      Plaintiffs are individuals living in Multnomah County, Oregon

and “consumers” protected by the FDCPA because they allegedly owed

delinquent credit account debt incurred for personal, family, household

purposes. Plaintiffs are also “persons” protected by the UTPA.

                                      16.

      GAT is a “person” governed by the UTPA because GAT and its

attorneys regularly collect debts in the course of their business and

occupation. GAT advertises itself as a “high-volume” law firm practicing

debt collection throughout the Pacific Northwest since 1978. GAT and

its predecessor corporations have a pattern and practice of violating the

laws governing debt collection in Oregon. See, e.g., Gordon v.

Rosenblum, 361 Or. 352 (2017), etc.




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                                    17.

      GAT is a “debt collector” as that term is defined in the FDCPA

because it regularly collects defaulted debts owed to, and on behalf of,

others, including Midland in this case, using the United States Postal

Service, and the principal purpose of GAT’s business is the collection of

delinquent debts owed to others.

                                    18.

      GAT is an Oregon corporation. GAT’s registered agent with the

State of Oregon is Matthew Aylworth. GAT’s manager as registered with

the State of Oregon is Matthew Aylworth. GAT’s principal place of

business as registered with the State of Oregon is 4023 W First Ave.,

Eugene, Oregon 97402.

                                    19.

      Vision Investigative Services, LLC (Vision) is an Oregon limited

liability company. Vision’s registered agent with the State of Oregon is

Matthew Aylworth. Vision’s manager as registered with the State of

Oregon is Matthew Aylworth. Vision’s principal place of business as

registered with the State of Oregon is 4023 W First Ave., Eugene,

Oregon 97402, the same address as GAT. Vision is a wholly owned and

operated subsidiary of GAT. See Docket #13.




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                                    20.

        Venue is proper under 28 U.S.C. § 1391 because GAT collected

debt from plaintiffs when they resided in Multnomah County, Oregon.

                                    21.

              ADDITIONAL FACTUAL ALLEGATIONS

        This complaint’s allegations are based on personal knowledge as

to plaintiffs’ behavior and made on information and belief as to the

behavior of others. The term “excessive service fee” refers both to GAT’s

prohibited service fees in general, GAT’s unreasonable and unnecessary

“expedited service” fees, and GAT’s unreasonable fees for service by

mail.

                                    22.

        On or around May 4, 2017, GAT filed a lawsuit against Mr. Chase

to collect debt in the Circuit Court of the State of Oregon for Multnomah

County in case number 17CV19572. Mr. Chase’s credit account debt at

issue in case number 17CV19572 was charged off for delinquency in

2015 after he became unable to repay it. In addition to the credit account

debt amount of $752.64, the complaint filed in the lawsuit represented

that GAT was entitled to “actual costs and disbursements”. See Exhibit

1. GAT’s complaint was a communication and a means to attempt to

collect debt from Mr. Chase.




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                                     23.

      On or around June 20, 2017, GAT completed service of its lawsuit

on Mr. Chase by certified and first-class mail. See Exhibit 1. GAT’s

service of its lawsuit on Mr. Chase was routine and could not be

considered “expedited service” because there was no justification or

requirement for expediting service. The actual cost of GAT’s service on

Mr. Chase was approximately $7.

                                     24.

      On or around July 24, 2017, GAT filed a statement for costs in its

lawsuit against Mr.      Chase.    See Exhibit 1.     GAT’s statement

acknowledged that its representations were “for use as evidence in court

and is subject to penalty of perjury.” Id. GAT’s statement then falsely

represented that expedited service took place, that expedited service

was necessary, that GAT was entitled to collect service costs of $45 from

Mr. Chase, that GAT’s $45 service cost was a reasonable service fee, that

GAT’s $45 service cost “reflect the actual costs of the service”, and that

the service costs were “billed directly to the client and are not overhead

expenses.” Id. The cost statement was a means to attempt to collect debt

from Mr. Chase. Mr. Chase then paid GAT the debt and excessive service

fee in full based on GAT’s cost statement. GAT was not allowed to collect

a $45 expedited service cost from Mr. Chase because it was not the

amount that was actually paid for the service, nor was it actually



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incurred by Midland, and because expedited service was not a

reasonable or necessary cost in his case. The false statements and lack

of disclosure in the cost statement that GAT owned and operated Vison

was a fraud upon the Court. Mr. Chase then satisfied the default

judgment prior to this action being filed. See Exhibit 1.

                                     25.

      On or around May 4, 2017, GAT filed a lawsuit against Mr.

MacCartney to collect debt in the Circuit Court of the State of Oregon

for Multnomah County in case number 17CV18244. Mr. MacCartney’s

credit account debt at issue in case number 17CV18244 was charged off

for delinquency in 2016 after he became unable to repay it. In addition

to the credit account debt amount of $1,057.48, the complaint filed in

the lawsuit represented that GAT was entitled to “actual costs and

disbursements”. See Exhibit 1. GAT’s complaint was a communication

and a means to attempt to collect debt from Mr. McCartney.

                                     26.

      On or around May 30, 2017, GAT completed service of its lawsuit

on Mr. MacCartney by certified and first-class mail. See Exhibit 1. GAT’s

service of its lawsuit on Mr. MacCartney was routine and could not be

considered “expedited service” because there was no justification or

requirement for expediting service. The actual cost of GAT’s service on

Mr. MacCartney was approximately $7.



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                                      27.

      On or around June 28, 2017, GAT filed a statement for costs in its

lawsuit against Mr. MacCartney. See Exhibit 1. GAT’s statement

acknowledged that its representations were “for use as evidence in court

and is subject to penalty of perjury.” Id. The cost statement was a means

to attempt to collect debt from Mr. MacCartney. Mr. MacCartney then

paid GAT the debt and excessive service fee in full based on GAT’s cost

statement. GAT was not allowed to collect a $45 expedited service cost

from Mr. MacCartney because it was not the amount that was actually

paid for the service, nor was it actually incurred by Midland, and

because expedited service was not a reasonable or necessary cost in his

case. The false statements and lack of disclosure in the cost statement

that GAT owned and operated Vison was a fraud upon the Court. Mr.

MacCartney then satisfied the default judgment prior to this action

being filed. See Exhibit 1.

                                      28.

      On or around August 15, 2017, GAT filed a lawsuit against Ms.

Mueller to collect debt in the Circuit Court of the State of Oregon for

Multnomah County in case number 17CV35553. Ms. Mueller’s credit

account debt at issue in case number 17CV35553 was charged off for

delinquency in 2016 after she became unable to repay it. In addition to

the credit account debt amount of $1,303.49, the complaint filed in the



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lawsuit represented that GAT was entitled to “actual costs and

disbursements”. See Exhibit 1. GAT’s complaint was a communication

and a means to attempt to collect debt from Ms. Mueller.

                                    29.

      On or around August 21, 2017, GAT completed service of its

lawsuit on Ms. Mueller by certified and first-class mail. See Exhibit 1.

GAT’s service of its lawsuit on Ms. Mueller was routine and could not be

considered “expedited service” because there was no justification or

requirement for expediting service. The actual cost of GAT’s service on

Ms. Mueller was approximately $7.

                                    30.

      On or around June 28, 2017, GAT filed a statement for costs in its

lawsuit against Ms. Mueller. GAT’s statement acknowledged that its

representations were “for use as evidence in court and is subject to

penalty of perjury.” See Exhibit 1. GAT’s statement acknowledged that

its representations were “for use as evidence in court and is subject to

penalty of perjury.” Id. The cost statement was a means to attempt to

collect debt from Ms. Mueller. Ms. Mueller then paid GAT the debt and

excessive service fee in full based on GAT’s cost statement. GAT was not

allowed to collect a $45 expedited service cost from Ms. Mueller because

it was not the amount that was actually paid for the service, nor was it

actually incurred by Midland, and because expedited service was not a



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reasonable or necessary cost in her case. The false statements and lack

of disclosure in the cost statement that GAT owned and operated Vison

was a fraud upon the Court. Ms. Muller then satisfied the default

judgment prior to this action being filed. See Exhibit 1.

                                     31.

      By adopting the FDCPA, Congress elevated the right of

consumers such as plaintiffs to be completely free from a debt collector’s

unlawful collection practices. The invasion of that right by GAT, as well

as the actual damages paid by the plaintiffs, are concrete injuries in fact

for which this Court may provide relief. GAT’s false, deceptive, and

misleading statements and unfair and unconscionable tactics to collect

service fee amounts that were not permitted by law presented an actual

material risk of harm – including that as a result of GAT’s violation of

the law as set forth in this complaint, plaintiffs and members of the

putative class would pay, and in the case of plaintiffs, did in fact pay,

amounts that GAT was not entitled to collect.

                                     32.

      Given the opportunity for discovery, the evidence will show that

GAT’s collections of excessive service fee amounts prohibited by Oregon

law, in violation of GAT’s professional conduct duties, and in violation

of the FDCPA and UTPA as alleged in this complaint, represent a

common collection scheme. As part of its collection scheme, GAT filed



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materially similar statements in thousands of other Oregon consumer

lawsuits to collect, or attempt to collect, materially similar unlawful

service fees, unnecessary expedited service fees in amounts that were

prohibited by Oregon law, and that overstated, and caused the likelihood

of confusion or misunderstanding about, the permissible fee amount, in

violation of the FDCPA and UTPA.

                                    33.

      The evidence will show that GAT falsely represented that

expedited service was necessary in cases where expedited service was

not necessary. The evidence will show that GAT collects service fees

from consumers in excess of the actual cost of the service and that the

inflated costs are not actually incurred by GAT’s clients. The evidence

will show that GAT unfairly profited by owning and operating the very

service company that GAT used to extract its excessive service fees from

Oregon consumers.




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                                      34.

                   CLASS ACTION ALLEGATIONS

       Under FRCP 23, plaintiffs bring this action on behalf of

themselves and all other similarly situated individual consumers. The

class is initially defined as:

   a) all individual consumers with Oregon addresses,

   b) who GAT filed a lawsuit against to collect a consumer debt on or

       after April 3, 2017,

   c) who Vision served a complaint to stating that GAT’s client was

       entitled to actual costs and disbursements,

   d) who had lawsuits filed against them in which GAT included a cost

       statement claiming any service fee or costs “reflect the actual

       costs of the service”, are “billed directly to the client and are not

       overhead expenses”, or requesting additional costs for “expedited”

       service because such service was “necessary”, and

   e) who suffered an ascertainable loss of money caused by GAT’s

       collection of an excessive service fee.




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                                     35.

      A class action is proper under FRCP 23(a) because based on

Oregon court records, the class consists of thousands of individual

consumers, and joinder of all members is impracticable. Each class

member is easily identifiable based on GAT’s files and Oregon court

records. Excluded from the class are all attorneys for the class, officers

and members of GAT, any judge who sits on the case, and all jurors and

alternate jurors who sit on the case.

                                     36.

      This action can be maintained as a class action under FRCP 23(a)

and (b) because there are questions of law and fact common to the class

members, which predominate over any questions relating to individual

class members, including but not limited to:

   a) Whether GAT’s behavior as alleged in this complaint, including

      its statements in the complaints it served on consumers that it

      was seeking “actual costs and disbursements” and the statements

      made to the Court in its false and deceptive costs statements

      caused the likelihood of confusion or of misunderstanding as to

      the source of GAT’s services, the source of the service fees, or that

      Midland approved of GAT’s requested service fees, and caused

      ascertainable losses to plaintiffs and the putative class in the




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     form of inflated and prohibited service costs that GAT collected or

     was paid,

  b) Whether GAT’s representations in the complaints it served on

     consumers that only “actual costs and disbursements” were being

     requested, when GAT knew that it would be requesting and

     collecting amounts that were not the actual costs paid for service,

     and were not actually incurred by GAT’s client, was a false,

     deceptive, or misleading representation, or a deceptive or unfair

     or unconscionable means to collect the debt in violation of the

     FDCPA,

  c) Whether GAT’s collection of debts by filing fraudulent and

     deceptive cost statements with the Court stating that the service

     fees were the actual amount paid for mail service, were incurred

     by GAT’s client, were not overhead of GAT, and falsely stating

     that the inflated amount for expedited service was reasonable and

     necessary when it was it was not, and the failure to disclose to the

     Court that the service company that effectuated service was a

     wholly owned and operated subsidiary of GAT, is a false,

     deceptive, and misleading means to collect debt, a false

     representation of the amount of debt, and an unfair and

     unconscionable means in collection of debt that is not allowed by

     law, in violation of the FDCPA,



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   d) Whether GAT’s scheme of collecting excessive and prohibited

      service fees through a dummy service company that it wholly

      owns and operates so that it (or its clients) can increase its profits

      is an unfair and unconscionable means in collection of debt in

      violation of the FDCPA.

                                     37.

      Plaintiffs’ claims are typical of the claims of the class members,

as they are based on the same factual circumstances, form statements,

common collection scheme, and legal theories. Plaintiffs have no

interests adverse to the class members.

                                     38.

      Plaintiffs will fairly and adequately represent and protect the

interests of the members of the class. Plaintiffs have retained nationally

known and locally respected counsel experienced in class action

litigation and FDCPA litigation to further ensure such representation

and protection of the class. Plaintiffs and their counsel intend to

prosecute this action vigorously and have the resources necessary to

successfully try this case to judgment.

                                     39.

      A class action is superior to other available methods for the fair

and efficient adjudication of this controversy. Absent class-wide

adjudication, members of the class are without effective recourse.



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Because of the relatively small monetary value of each individual class

member’s claim, few, if any, class members could afford to prosecute an

individual action against GAT. The federal court filing fee alone is

double the maximum statutory damages available under the UTPA.

Absent class treatment, GAT’s alleged wrongdoing would go unabated,

and no class member would be afforded the opportunity to seek judicial

relief, whether for themselves or for the public good generally.

                                    40.

      A class action is appropriate under FRCP 23(b)(3) because the

questions of law and fact regarding the nature and legality of GAT’s

practices as alleged in this complaint predominate over any questions

affecting only individual class members, and a class action is superior to

other available methods for the fair and efficient adjudication of this

controversy, for the following reasons:

   a) The prosecution of separate actions creates a risk of inconsistent

      or varying rulings,

   b) The common questions of law and fact described above

      predominate over questions affecting only individual members,

   c) Individual class members would have little interest in controlling

      the prosecution of separate actions because the amount of each

      individual claim is relatively small compared to the complexities

      of the issues and the expenses of litigation,



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  d) This is a desirable forum because this Court has significant

     experience managing class actions under the FDCPA and UTPA,

  e) A class action will be an efficient method of adjudicating the

     claims of the class members, and

  f) Class members have claims that are not significant in amount

     relative to the expense of the litigation, so separate actions would

     not afford significant relief to the members of the class.




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                                     41.

                        CLAIMS FOR RELIEF

           – Claim 1 for the Putative Class Against GAT –

                       Violations of the FDCPA

      GAT’s representations in the complaints it filed and served on

consumers that it was seeking only “actual costs and disbursements”

when it knew that it would be collecting service costs that were more

than the actual costs paid for the service by mail, as well as an

unnecessary, unreasonable, and excessive fee for expedited service, is a

false, deceptive, and misleading representation and means to collect

debt and an unfair and unconscionable means in collection of debt in

violation of 15 U.S.C. § 1692e, § 1692e(2)(A), § 1692e(5), § 1692e(10), and

§ 1692f.

                                     42.

      GAT’s collection of excessive service fees by submitting materially

false, deceptive, and misleading cost statements stating that the service

fees represented the actual service costs paid for mailed service, that the

service fees were actually incurred by its client, that the service fees

were not overhead, that expedited service was conducted, that expedited

service was necessary, that the cost of service was reasonable, and the

failure to disclose that GAT owned and operated the entity that

effectuated the service, is a false, deceptive, and misleading means to



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collect debt, a false representation of the amount of debt, and an unfair

and unconscionable means in collection of debt that is not allowed by

law, in violation of 15 U.S.C. § 1692e, § 1692e(2)(A), § 1692e(2)(B),

§ 1692e(5), § 1692e(10), § 1692f, and § 1692f(1).

                                      43.

      GAT’s collection of excessive service fees from consumers that

were not the actual costs of the mailed service, that were not actually

paid to a third party, that included overhead expenses of GAT, that were

not actually incurred by its clients, that included excessive,

unreasonable, and unnecessary expedited service costs, and that were

based upon false, deceptive, or misleading costs statements submitted

to the Court, is a false, deceptive, and misleading means to collect debt,

a false representation of the amount of debt, and an unfair and

unconscionable means in collection of debt that is not allowed by law, in

violation of 15 U.S.C. § 1692e, § 1692e(2)(A), § 1692e(2)(B), § 1692e(5),

§ 1692e(10), § 1692f, and § 1692f(1).

                                      44.

      GAT’s scheme of collecting excessive and prohibited service fees

through a dummy service company that it wholly owns and operates so

that it (or its clients) can increase its profits is professionally unethical

and is an unfair and unconscionable means in collection of debt in

violation of 15 U.S.C. § 1692f.



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                                     45.

      As a result of GAT’s violations of the FDCPA as alleged above,

plaintiffs and all other similarly situated individual consumers are

entitled to actual damages of amounts paid to or collected by GAT for its

unlawful service fees under § 1692k(a)(1), statutory damages under

§ 1692k(a)(2)(B), and reasonable fees and costs under § 1692k(a)(3).

                                     46.

          – Claim 2 for the Putative Class Against GAT –

                        Violations of the UTPA

      GAT’s practice of stating in the complaints it filed and served on

consumers that it was seeking only “actual costs and disbursements”

when it knew that it would be collecting service costs that were more

than the actual costs paid for the service by mail, as well as an

unnecessary, unreasonable, and excessive fee for expedited service GAT

caused likelihood of confusion and of misunderstanding as to the source

of its services and the true source of the service fees in violation of ORS

646.608(1)(b), causing plaintiffs and putative class members to suffer an

ascertainable loss of money in the form of excessive service fees paid to,

or collected by, GAT.




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                                     47.

      GAT’s collection of excessive service fees through submitting

materially false, deceptive, and misleading cost statements stating that

the service fees represented the actual service costs paid for mailed

service, that the service fees were actually incurred by its client, that

the service fees were not overhead, that expedited service was

conducted, that expedited service was necessary, that the cost of service

was reasonable, and the failure to disclose that GAT owned and operated

the entity that effectuated the service, caused the likelihood of confusion

and of misunderstanding as to the source of its services and the true

source of the service fees, and that GAT’s client had approved of GAT’s

prohibited service fees, causing plaintiffs and putative class members to

suffer an ascertainable loss of money in the form of excessive service fees

paid to, or collected by, GAT.

                                     48.

      GAT’s conduct as alleged in this complaint was reckless, in

pursuit of profit, and constituted a wanton, outrageous and oppressive

violation of the rights of plaintiffs and the putative class members to be

free from unlawful trade practices. As a result of GAT’s violation of the

UTPA as alleged above, plaintiffs and all other similarly situated

individual consumers are entitled to $200 statutory damages per




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individual, punitive damages, and reasonable fees and costs under ORS

646.638.

                                     49.

   – Claim 3 for the Putative Class against GAT and Vision –

                          Unjust Enrichment

      Defendants are alter egos of each other and worked together in

concert in a common scheme to profit from the collection of service fees

that were not allowed by law, were not the actual costs paid to any third

party for service by mail, were unnecessary and unreasonable and

excessive, as alleged in this complaint. As a matter of justice and equity,

defendants should not be able to retain the excessive service fees they

collected from plaintiffs and the putative class. Plaintiffs and the

putative class are entitled to restitution based on defendants’ unjust

enrichment as alleged in this complaint.

                                     50.

      Plaintiffs reserve the right and may intend to seek amendment of

this complaint to add Midland upon learning through discovery that

Midland directed, participated in, or profited from the unlawful service

fee collection scheme set forth in this complaint.

                                     51.

      Demand for jury trial.




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                       PRAYER FOR RELIEF

      Plaintiffs seek relief as follows:



   A. An order that this case may proceed as a class action and an order

      that GAT violated the FDCPA and UTPA,

   B. An order and judgment in favor of plaintiffs and the class against

      defendants for damages determined to have been sustained by

      them, including actual damages, maximum statutory damages,

      punitive damages, and equitable relief and reasonable fees and

      costs.

   C. An order and judgment in favor of plaintiffs and the class against

      defendants for maximum pre-judgment and post-judgment

      interest, and

   D. For any other relief this Court may determine is fair and proper.


June 22, 2018

                                  RESPECTFULLY FILED,

                                  s/ Michael Fuller
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                                  Lead Trial Attorney for Plaintiffs
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                    CERTIFICATE OF SERVICE

I certify that I caused a copy of this document and all attachments to be
served on all parties to this action by CM/ECF.


June 22, 2018

                                 s/ Michael Fuller
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                      PROOF OF MAILING

I declare and certify that on the date below I caused a copy of this
amended complaint to be mailed to the following:


      Ellen Rosenblum
      Oregon Attorney General
      Oregon Department of Justice
      1162 Court Street NE
      Salem, Oregon 97301-4096


June 22, 2018

                               s/ Michael Fuller
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